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L L P




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F L E X N E R




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S C H I L L E R




                    12 Counsel for Plaintiffs
                    13 [Additional counsel listed on signature page]
                    14                 UNITED STATES DISTRICT COURT
                    15        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
B O I E S




                    16 BROIDY CAPITAL MANAGEMENT                  Case No. 18-cv-02421-JFW
                    17 LLC and ELLIOTT BROIDY,
                                                                  JOINT RULE 26(f) REPORT
                    18              Plaintiffs,                   The Honorable John F. Walter
                    19
                              v.                                  Conference Date: August 6, 2018
                    20                                            Time: 1:30pm
                    21 STATE OF QATAR, STONINGTON                 Courtroom: 7A
                       STRATEGIES LLC, NICOLAS D.
                    22 MUZIN, GLOBAL RISK ADVISORS                Motion Cut-Off: Not Set
                    23 LLC, KEVIN CHALKER, DAVID                  Discovery Cut-Off: Not Set
                       MARK POWELL, MOHAMMED BIN                  Pretrial Conf. Date: Not Set
                    24 HAMAD BIN KHALIFA AL THANI,                Trial Date: Not Set
                    25 AHMED AL-RUMAIHI, and DOES 1-
                       10,                                        Complaint Filed: March 26, 2018
                    26                                            FAC Filed: May 24, 2018
                    27              Defendants.
                    28
                                                                                       Case No. 18-cv-02421-JFW
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                     1                                 JOINT RULE 26(F) REPORT
                     2         Pursuant to Federal Rule of Civil Procedure 26(f), Central District of
                     3 California Local Rule 26-1, and this Court’s April 4, 2018 Minute Order and May 7,
                     4 2018 Order setting a Scheduling Conference for August 6, 2018, Plaintiffs Broidy
                     5 Capital Management LLC (“BCM”) and Elliott Broidy (“Broidy”) (together,
                     6 “Plaintiffs”) and Defendants State of Qatar (“Qatar”), Stonington Strategies LLC
                     7 (“Stonington”), Nicolas D. Muzin (“Muzin”) (Stonington and Muzin together,
L L P




                     8 “Stonington Defendants”), Global Risk Advisors LLC (“GRA”), and Kevin Chalker
F L E X N E R




                     9 (“Chalker”) (GRA and Chalker together, “GRA Defendants”), (collectively
                    10 “Defendants”)1 met and conferred on July 12, 2018 and continued to communicate
                    11 via email, and hereby submit this Joint Report.
S C H I L L E R




                    12        I.     NATURE OF THE CLAIMS AND DEFENSE
                    13         The Parties discussed the nature and basis of their claims and defenses and
                    14 have determined that, at this time, early settlement of this action is unlikely.
                    15       II.     DISCOVERY PLAN
B O I E S




                    16         The Parties’ positions on a detailed discovery plan, including their position on
                    17 each element described in Fed. R. Civ. P. 26(f)(3), is set forth below.
                    18               A.     Rule 26(f)(3)(A) – Initial Disclosures
                    19         Plaintiffs’ Position: In light of this Court’s Standing Order directing that
                    20 discovery begin prior to the Rule 26(f) conference (ECF No. 17 at 6), the Stipulation
                    21 and Order dated May 7, 2018 permitting certain discovery to continue (ECF No. 46),
                    22 and to ensure the general expeditious resolution of the merits of this litigation,
                    23 Plaintiffs propose that Plaintiffs and the Stonington Defendants exchange initial
                    24
                    25   1
                        David Mark Powell (“Powell”), Mohammed bin Hamad bin Khalifa al Thani (“Al
                    26 Thani”), and Ahmed al-Rumaihi (“Al-Rumaihi”) are overseas and have not yet been
                       served.
                    27
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                     1 disclosures on or before August 6, 2018. At the request of the GRA Defendants as a
                     2 result of their later entry into the case, Plaintiffs have agreed that the GRA
                     3 Defendants may make their initial disclosures fourteen (14) days after the
                     4 Stonington Defendants, and therefore propose that the GRA Defendants serve their
                     5 initial disclosures on August 20, 2018. Because Plaintiffs have agreed not to pursue
                     6 discovery against Qatar pending resolution of its motion to dismiss on grounds of
                     7 sovereign immunity (ECF No. 112),2 Plaintiffs propose that Qatar serve its initial
L L P




                     8 disclosures fourteen (14) days after resolution of Qatar’s motion to dismiss.
F L E X N E R




                     9         Defendants’ Position: The Stonington Defendants and the GRA Defendants
                    10 agree to Plaintiffs’ proposal on the timing of initial disclosures. Qatar also agrees
                    11 that service of its initial disclosures should be deferred until after resolution of its
S C H I L L E R




                    12 motion to dismiss, but proposes to serve its disclosures twenty-eight (28) days after
                    13 resolution of its motion.
                    14                B.     Rule 26(f)(3)(B) – Subjects of Discovery
                    15         Plaintiffs’ Position: Plaintiffs propose that discovery on the claims and
B O I E S




                    16 defenses asserted in the action should be conducted as permitted under the Federal
                    17 Rules, including documentary discovery, interrogatories, requests for admission and
                    18 depositions, with the exception of the proposals relating to the numbers of
                    19 depositions and interrogatories proposed below in section II.E.
                    20         For the reasons set forth in Plaintiffs’ oppositions to the motions to stay
                    21 discovery filed by Qatar and the Stonington Defendants (ECF Nos. 87-90), Plaintiffs
                    22 propose that – with the exception of discovery against Qatar – discovery should
                    23 continue through the resolution of Defendants’ motions to dismiss and that this
                    24
                         2
                         The Stonington Defendants filed their Motion to Dismiss on July 9, 2018, and this
                    25
                       Court is scheduled to hear that motion on August 13, 2018. (ECF No. 129.)
                    26 Pursuant to the stipulation entered on June 7, 2018, the GRA Defendants will file
                       their Motion to Dismiss on July 23, 2018. (ECF No. 83.)
                    27
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                     1 Court should set a discovery schedule consistent with trial in this matter scheduled
                     2 one year from the Scheduling Conference scheduled for August 6, 2018 in this
                     3 matter. Accordingly, Plaintiffs propose the following discovery schedule:3
                     4             • August 6, 2018: Scheduling Conference
                     5             • November 30, 2018: Deadline for the Production of Documents
                     6             • March 15, 2019: Deadline for the Close of Fact Discovery
                     7         In the event that this Court stays discovery pending resolution of Defendants’
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                     8 motions to dismiss, Plaintiffs propose discovery deadlines that are similarly
F L E X N E R




                     9 consistent with a one-year schedule between the resolution of those motions to
                    10 dismiss and trial, i.e., four months for the production of documents, and another
                    11 three-and-one-half months for the completion of fact discovery.
S C H I L L E R




                    12         Defendants’ Position:
                    13         Qatar and the Stonington Defendants have each filed motions to stay
                    14 discovery pending resolution of their motions to dismiss. Their respective positions
                    15 on discovery at this point in the litigation are articulated therein. The GRA
B O I E S




                    16 Defendants agree that discovery should be stayed pending resolution of all
                    17 Defendants’ motions to dismiss.
                    18         Further, Defendants believe that setting calendar dates is premature in light of
                    19 their pending motions to dismiss—including on jurisdictional grounds—that if
                    20 granted, would terminate the action.4 Accordingly, Defendants below and
                    21
                         3
                    22    Plaintiffs provide further scheduling proposals for dispositive motions, expert
                         witness disclosure, and trial below. (See Sections IV, VI, and VII.)
                    23   4
                           All Defendants invoke sovereign immunity from Plaintiffs’ claims. The denial of
                    24   any Defendant’s motion to dismiss will be immediately appealable—as of right—to
                         the Ninth Circuit, and discovery will likely be stayed pending resolution of such
                    25
                         appeal. See, e.g., Nunag-Tanedo v. E. Baton Rouge Parish Sch. Bd., 711 F.3d 1136,
                    26   1139-40 (9th Cir. 2013) (setting forth right of immediate appeal); Farhang v. Indian
                         Inst. Of Tech., No. 12-15178 (9th Cir. Sept. 10, 2012) (staying all trial court
                    27
                                                               -3-                           Case No. 18-cv-02421-JFW
                    28                                                                        JOINT RULE 26(f) REPORT
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                     1 throughout the remainder of the document have proposed case-related deadlines
                     2 based on the number days following the resolution of the last-moving Defendant’s
                     3 motion to dismiss, including any appeals therefrom.
                     4         Defendants propose the following discovery schedule:
                     5            • Deadline for the Substantial Completion of the Production of
                     6                Documents: 120 days after resolution of the last-moving Defendant’s
                     7                motion to dismiss
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                     8            • Deadline for the Close of Fact Discovery: 195 days after resolution of
F L E X N E R




                     9                the last-moving Defendant’s motion to dismiss
                    10         To the extent the Court is inclined to adopt Defendants’ proposal regarding
                    11 scheduling, Defendants respectfully suggest that the Court postpone the scheduling
S C H I L L E R




                    12 conference, currently set for August 6, until after resolution of the Defendants’
                    13 motions to dismiss.
                    14                C.    Rule 26(f)(3)(C) – Discovery of Electronically Stored
                    15                      Information
B O I E S




                    16         Plaintiffs’ Position: Plaintiffs continue to be concerned about the spoliation
                    17 of evidence, including electronically stored information (“ESI”), in the possession of
                    18 third-party internet service providers, telephone companies, and other custodians of
                    19 forensic evidence relevant to this matter, and propose that in all events, such
                    20 discovery be permitted to continue.
                    21         Plaintiffs disclosed that a BCM employee who was targeted with
                    22 spearphishing attacks on her personal mobile telephone resigned her position at
                    23 BCM and did not leave her personal devices with BCM when she left. That person
                    24 recently has rejoined BCM, and Plaintiffs’ counsel is currently taking steps to ensure
                    25 the preservation of relevant information on her personal devices.
                    26
                         proceedings pending resolution of denial of immunity under FSIA).
                    27
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                    28                                                                    JOINT RULE 26(f) REPORT
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                     1         Defendants’ Position: Given the nature of the claims asserted by Plaintiffs, it
                     2 is critical that Plaintiffs take any and all steps necessary to ensure that electronic and
                     3 physical information relevant to Plaintiffs’ claims or Defendants’ defenses be
                     4 adequately preserved.
                     5         Defendants have thus asked Plaintiffs to confirm that they have taken
                     6 adequate measures to preserve any and all electronic data, hardware, or other
                     7 physical evidence, including with respect to the BCM servers and Plaintiffs’ and
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                     8 their employees’ personal devices, for imaging and forensic analysis. Plaintiffs have
F L E X N E R




                     9 represented that all such materials have been adequately preserved, subject to the
                    10 caveat noted by Plaintiffs as to the individual BCM employee. In addition, the GRA
                    11 Defendants have asked Plaintiffs to confirm that any and all data, communications,
S C H I L L E R




                    12 and tangible items from other entities on whose servers Mr. Broidy may have
                    13 accounts or otherwise stored information, also be preserved. Plaintiffs have stated
                    14 they are looking into this issue.
                    15               D.     Rule 26(f)(3)(D) – Issues Relating to Claims of Privilege or
B O I E S




                    16                      Trial Preparation Material
                    17         Plaintiffs’ Position: Discovery in this action may include confidential or
                    18 proprietary information, and the entry of a protective order governing the production
                    19 of any such confidential material is appropriate in this case.
                    20         The Plaintiffs dispute, however, what types of information should be
                    21 considered highly confidential or proprietary information, and further specifically
                    22 dispute the application of the Vienna Convention on Diplomatic Relations to
                    23 documents produced in this case by parties other than the State of Qatar. The Parties
                    24 have met and conferred regarding these matters, and understand that Qatar intends to
                    25 file a motion for a protective order.
                    26         Defendants’ Position: Defendants agree that the entry of a protective order is
                    27
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                    28                                                                      JOINT RULE 26(f) REPORT
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                     1 necessary for this case in light of the highly confidential, diplomatic and proprietary
                     2 information likely to be at issue in this proceeding.
                     3        Following meet-and-confers in which the parties were unable to agree upon an
                     4 appropriate protective order, Defendant Qatar intends to move for a protective order
                     5 which contains adequate safeguards for its, and other parties’, highly confidential
                     6 information. To the extent the parties disagree over what types of information
                     7 should be designated thereunder, the proposed protective order contains a process
L L P




                     8 for challenging party designations.
F L E X N E R




                     9        Qatar has, pursuant to Local Rule 37, initiated a process for presenting the
                    10 same to the Magistrate Judge. The Stonington and GRA Defendants consent to the
                    11 entry of the protective order proposed by Qatar.
S C H I L L E R




                    12        As briefed more fully in the Defendants’ currently-pending motions to stay,
                    13 this case also involves inviolable documents and correspondence absolutely
                    14 protected from disclosure under the Vienna Conventions. In the event discovery is
                    15 permitted to continue, Defendants expect to withhold documents on the basis of the
B O I E S




                    16 Vienna Conventions and to produce to Plaintiffs an appropriate log of documents
                    17 withheld on such basis.
                    18               E.    Rule 26(f)(3)(E) – Limitations on Discovery
                    19        Plaintiffs’ Position: Plaintiffs propose that discovery on the claims and
                    20 defenses asserted in the action should be conducted as permitted under the Federal
                    21 Rules, with the following proposed exceptions:
                    22            • Plaintiffs may collectively conduct up to twenty (20) depositions.
                    23            • Defendants may collectively conduct up to twenty (20) depositions.
                    24            • Expert depositions shall not count toward either Plaintiffs’ or
                    25               Defendants’ twenty (20) depositions.
                    26
                    27
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                    28                                                                    JOINT RULE 26(f) REPORT
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                     1            • Plaintiffs may collectively serve up to twenty-five (25) interrogatories
                     2               on Defendants.
                     3            • Defendants may collectively serve up to twenty-five (25)
                     4               interrogatories on Plaintiffs.
                     5         Plaintiffs do not propose phased discovery at this time.
                     6         Defendants’ Position: Defendants contend any discovery is premature at this
                     7 juncture in light of their pending stay motions and motions to dismiss. In the event
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                     8 discovery proceeds, Defendants agree with Plaintiffs’ proposal on the number of
F L E X N E R




                     9 depositions, but do not believe they should collectively be limited to only one seven-
                    10 hour deposition for certain key individuals, including Mr. Broidy, and are likely to
                    11 seek relief from the 7-hour deposition limit for such depositions.
S C H I L L E R




                    12         As to interrogatories, Defendants propose the following:
                    13            • Each Defendant group may collectively serve up to twenty-five (25)
                    14               interrogatories on Plaintiffs, collectively. In other words, Qatar may
                    15               serve up to 25 interrogatories on Broidy/BCM, collectively; the
B O I E S




                    16               Stonington Defendants may collectively serve up to 25 interrogatories
                    17               on Broidy/BCM, collectively; and the GRA Defendants may
                    18               collectively serve up to 25 interrogatories on Broidy/BCM, collectively.
                    19            • Plaintiffs may collectively serve up to twenty-five (25) interrogatories
                    20               on each Defendant group. In other words, Broidy/BCM may
                    21               collectively serve up to 25 interrogatories on Qatar; Broidy/BCM may
                    22               collectively serve up to 25 interrogatories on the Stonington
                    23               Defendants, collectively; and Broidy/BCM may collectively serve up to
                    24               25 interrogatories on the GRA Defendants, collectively.
                    25         Finally, Defendants state that phased discovery may be necessary in the event
                    26 that discovery is permitted to proceed. For instance, if the Court permits Plaintiffs to
                    27
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                    28                                                                    JOINT RULE 26(f) REPORT
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                     1 take jurisdictional discovery, there may be a basis for such discovery to proceed
                     2 first. The need for phased discovery should thus be considered following this
                     3 Court’s resolution of Defendants’ motions to dismiss.
                     4                 F.    Rule 26(f)(3)(F) – Other Orders
                     5          The Parties are not aware of any other orders at this time that would be
                     6 appropriate for the Court to enter.
                     7       III.      LOCAL RULE 26-1(A) – COMPLEX CASE
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                     8          The Parties agree that this case is not a complex case within the meaning of
F L E X N E R




                     9 Local Rule 26(a), and that the Manual for Complex Litigation should not be used in
                    10 this case.
                    11       IV.       LOCAL RULE 26-1(B) - MOTION SCHEDULE
S C H I L L E R




                    12          Plaintiffs’ Position: Plaintiffs propose the following schedule for all
                    13 dispositive motions5:
                    14              • June 21, 2019: Deadline for Dispositive Motions
                    15              • July 12, 2019: Deadline for Responses to Dispositive Motions
B O I E S




                    16              • July 25, 2019: Deadline for Replies to Responses to Dispositive
                    17                 Motions
                    18          Defendants’ Position:
                    19          As noted, Defendants believe calendar dates are premature. Defendants
                    20 propose the following schedule for dispositive motions:
                    21
                    22
                    23   5
                           These dates are consistent with the one-year schedule Plaintiffs propose in Section
                    24   I.B above. Should this Court stay discovery, Plaintiffs propose dispositive motion
                         deadlines that are similarly consistent with a one-year schedule between the
                    25
                         resolution of Defendants’ motions to dismiss and trial, i.e., ten-and-one-half months
                    26   for dispositive motions, another three weeks for responses to dispositive motions,
                         and another two weeks for replies to the responses to dispositive motions.
                    27
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                    28                                                                        JOINT RULE 26(f) REPORT
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                      1             • Deadline for Dispositive Motions: 295 days after resolution of the
                      2                 last-moving Defendant’s motion to dismiss;
                      3             • Deadline for Responses to Dispositive Motions: 325 days after
                      4                 resolution of the last-moving Defendant’s motion to dismiss;
                      5             • Deadline for Replies to Responses to Dispositive Motions6: 346 days
                      6                 after resolution of the last-moving Defendant’s motion to dismiss.
                      7       V.      LOCAL RULE 26-1(C) – ADR
L L P




                      8         Plaintiffs’ Position: Plaintiffs propose that, pursuant to Local Rule 16-15.4,
F L E X N E R




                      9 the Parties should utilize ADR Procedure No. 1 (“The parties shall appear before the
                    10 district judge or magistrate judge assigned to the case for such settlement
                    11 proceedings as the judge may conduct or direct.”), for this matter. Plaintiffs propose
S C H I L L E R




                    12 that such mediation should be completed by November 1, 2018.
                    13          Defendants’ Position: Defendants propose that, pursuant to Local Rule 16-
                    14 15.4, the Parties should utilize ADR Procedure No. 2 (“The parties shall appear
                    15 before a neutral selected from the Court’s Mediation Panel.”), for this matter.
B O I E S




                    16 Defendants propose that such mediation should be completed by such date that is
                    17 120 days after resolution of the last-moving Defendant’s motion to dismiss.
                    18        VI.     LOCAL RULE 26-1(D) – TRIAL ESTIMATE
                    19          Plaintiffs’ Position: At this time, Plaintiffs estimate that trial will take three
                    20 (3) weeks and will be by jury. Plaintiffs propose a trial date of August 11, 2019.7
                    21
                    22    6
                         If the Plaintiffs intend to file dispositive motions, the parties shall meet and confer
                    23 to agree upon a four-brief dispositive motion schedule, instead of the six-brief
                    24 schedule set forth herein.
                          7
                         This trial date fits within the one-year schedule Plaintiffs propose in Sections I.B
                    25
                       and IV above. Should this Court stay discovery, Plaintiffs propose a trial date that is
                    26 similarly consistent with a one-year schedule between the resolution of Defendants’
                       motions to dismiss and trial.
                    27
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                    28                                                                     JOINT RULE 26(f) REPORT
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                      1           Defendants’ Position:
                      2           Defendants believe it is premature to provide a trial estimate, as the number of
                      3 parties and claims and counterclaims that will be included in this action at the time
                      4 of trial cannot be known, and will depend on a number of factors, including the
                      5 Court’s resolution of Defendants’ motions to dismiss. However, at this time,
                      6 Defendants have no reason to disagree with Plaintiffs’ estimate of the trial time.
                      7 Defendants propose a trial date of 435 days after resolution of the last-moving
L L P




                      8 Defendant’s motion to dismiss.
F L E X N E R




                      9       VII.       LOCAL RULE 26-1(E)-ADDITIONAL PARTIES
                    10            Plaintiffs’ Position: Plaintiffs believe that, as discovery reveals more
                    11 individuals involved in the conspiracy to hack their computer systems and
S C H I L L E R




                    12 disseminate the materials stolen from those system, more defendants will be added.
                    13            Defendants’ Position: In the event the Court denies the Defendants’
                    14 respective motions to dismiss, there may be a need to add counterclaim defendants
                    15 depending on information revealed in discovery.
B O I E S




                    16        VIII.      LOCAL RULE 26-1(F) – EXPERT WITNESSES
                    17            Plaintiffs’ Position: Plaintiffs propose the following dates for expert
                    18 discovery8:
                    19                • April 12, 2019: Expert Witness Disclosures and Reports for the Party
                    20                   That Bears the Initial Burden of Proof
                    21                • May 10, 2019: Rebuttal Expert Disclosures and Reports
                    22
                          8
                            These dates are consistent with the one-year schedule Plaintiffs propose in Sections
                    23
                          I.B, IV, and VI above. Should this Court stay discovery, Plaintiffs propose expert
                    24    witness disclosure deadlines that are similarly consistent with a one-year schedule
                          between the resolution of those motions to dismiss and trial, i.e., eight-and-a-quarter
                    25
                          months for expert witness disclosure and reports for the party that bears the initial
                    26    burden of production, another one month for rebuttal expert disclosures and reports,
                          and another one month for the completion of expert depositions.
                    27
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                    28                                                                         JOINT RULE 26(f) REPORT
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                      1           • June 14, 2019: Deadline for Expert Depositions
                      2        Defendants’ Position:
                      3        Defendants contend that phased expert disclosures by side are more efficient
                      4 than basing disclosures on the party bearing the burden of proof, which inevitably is
                      5 a source of dispute between the parties. As noted, Defendants also believe calendar
                      6 dates are premature. Therefore, they instead propose the following dates for expert
                      7 discovery:
L L P




                      8              • Expert Witness Disclosures and Reports for Plaintiff: 190 days after
F L E X N E R




                      9                 resolution of the last-moving defendant’s motion to dismiss;
                    10               • Defendants’ Expert Disclosures and Reports: 220 days after
                    11                  resolution of the last-moving defendant’s motion to dismiss;
S C H I L L E R




                    12               • Deadline for Expert Depositions: 271 days after resolution of the last-
                    13                  moving defendant’s motion to dismiss;
                    14
                    15
B O I E S




                    16
                    17                                     Respectfully submitted,
                    18 Dated: July 23, 2018                            BOIES SCHILLER FLEXNER LLP
                    19                                                 By: /s/ Lee S. Wolosky
                    20                                                 Lee S. Wolosky
                                                                       Email: lwolosky@bsfllp.com
                    21                                                 Robert J. Dwyer
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                    25
                    26                                                 Attorneys for Plaintiffs
                    27
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                    28                                                                        JOINT RULE 26(f) REPORT
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                                                                   COVINGTON & BURLING LLP
                      1 Dated: July 23, 2018
                      2                                            By: /s/ Mitchell A. Kamin
                                                                   Mitchell A. Kamin
                      3                                            Email: mkamin@cov.com
                      4                                            1999 Avenue of the Stars, Suite 3500
                                                                   Los Angeles, CA 90067-4643
                      5                                            Telephone: + 1 424-332-4800
                      6                                            Facsimile: + 1 424-332-4749
                      7                                            Attorneys for Defendant State of Qatar
L L P




                      8
F L E X N E R




                      9
                          Dated: July 23, 2018                     WILEY REIN LLP
                    10
                                                                   By: /s/ Stephen J. Obermeier
                    11
                                                                   Stephen J. Obermeier
S C H I L L E R




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                    15
B O I E S




                    16                                             Attorney for Defendants Nicolas D. Muzin
                                                                   and Stonington Strategies LLC
                    17
                    18
                    19 Dated: July 23, 2018                        WILMERHALE LLP

                    20                                             By: /s/ Brendan R. McGuire
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                    26                                             Attorney for Defendants Global Risk
                    27
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                    28                                                                  JOINT RULE 26(f) REPORT
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                      1                                            Advisors LLC and Kevin Chalker

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                    28                                                                JOINT RULE 26(f) REPORT
